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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                      |
NIKE, INC.,                                           |     Civil Action No.: 1:22-cv-00983-VEC
                               Plaintiff,             |
                                                      |
       v.                                             |
                                                      |
STOCKX LLC,                                           |
                               Defendant.             |
                                                      |


                              PLAINTIFF NIKE, INC.’S
                     NOTICE OF INTENT TO REQUEST REDACTION

       Notice is hereby given that a statement of redaction of specific confidential information

will be submitted to the court reporter/transcriber within 21 days from the filing of the transcript

with the Clerk of Court.




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Dated: January 30, 2023                  By: /s Tamar Y. Duvdevani

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